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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       AYSHA ALI,                                        Case No. 3:23-cv-02694-JSC
                                                        Plaintiff,
                                   8
                                                                                             ORDER RE: DEFENDANT'S BILL OF
                                                  v.                                         COSTS
                                   9

                                  10       SANOFI-AVENTIS U.S LLC, et al.,                   Re: Dkt. No. 51
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Pending before the Court is Defendants’ Bill of Costs (Dkt. No. 51)1 and Plaintiff’s

                                  14   Objections to Defendant’s Bill of Costs (Dkt. No. 52.) Defendants request $4,403.89. The Court

                                  15   DENIES Defendants’ request for costs. Plaintiff has demonstrated sound reasons for denying

                                  16   Defendant’s request for costs, and the Court exercises its discretion to do so.

                                  17                                               DISCUSSION

                                  18           Federal Rule of Civil Procedure 54(d)(1) provides “[u]nless a federal statute, these rules, or

                                  19   a court order provides otherwise, costs—other than attorney's fees—should be allowed to the

                                  20   prevailing party.” Fed. R. Civ. Proc. 54(d)(1). Rule 54(d)(1) creates “a presumption for awarding

                                  21   costs to prevailing parties; the losing party must show why costs should not be awarded.” Draper

                                  22   v. Rosario, 836 F.3d 1072, 1087 (9th Cir. 2016) (quoting Save Our Valley v. Sound Transit, 335

                                  23   F.3d 932, 944-45 (9th Cir. 2003)). “Rule 54(d)(1) also ‘vests in the district court discretion to

                                  24   refuse to award costs.’” Id. (quoting Escriba v. Foster Poultry Farms, Inc., 743 F.3d 1236, 1247–

                                  25   48 (9th Cir. 2014)). “Appropriate reasons for denying costs include: (1) the substantial public

                                  26   importance of the case, (2) the closeness and difficulty of the issues in the case, (3) the chilling

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                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1   effect on future similar actions, (4) the plaintiff's limited financial resources, and (5) the economic

                                   2   disparity between the parties. This is not “an exhaustive list of ‘good reasons’ for declining to

                                   3   award costs,” but rather a starting point for analysis.” Id. (quoting Escriba, 743 F.3d at 1247–48).

                                   4   “[A] losing party need not demonstrate that all five factors weigh against imposing costs,” in order

                                   5   for a request for costs to be denied. Id.

                                   6          Plaintiff has demonstrated all five factors weigh in favor of denying Defendants’ request

                                   7   for costs. First, this case has public importance, as Plaintiff was asserting a pharmaceutical

                                   8   company defrauded many cancer patients, a claim that could have impacted many future

                                   9   individuals. See Escriba, 743 F.3d at 1248 (concluding a “case presented issues of substantial

                                  10   public importance,” even though it was brought by a single plaintiff rather than a class because the

                                  11   case had potentially “broader application” to others). Second, this case presented complicated

                                  12   legal issues; Plaintiff’s claim was not meritless or frivolous but was decided on statute-of-
Northern District of California
 United States District Court




                                  13   limitations grounds after briefing, analysis, and depositions. Id. (finding a “case addresses an

                                  14   important legal question” because it “turn[ed] on the careful evaluation of witness testimony and

                                  15   circumstantial evidence.”). Third, finding against Plaintiff may chill further litigants like

                                  16   Plaintiffs. See id. (“[E]ven modest costs can discourage potential plaintiffs who . . . earn low

                                  17   wages.”). Fourth, Plaintiff has shown she has limited financial resources, and the costs would post

                                  18   a substantial hardship to her: she makes “$78,000 annually,” is “the sole financial provider” for

                                  19   her family, and does “not have enough money to pay Defendants’ litigation costs.” (Dkt. No. 52-2

                                  20   ¶¶ 2, 3, 5.) Finally, there is extreme economic disparity between the parties: Plaintiff has

                                  21   difficulty making her monthly payments for her housing, cars, and food; Defendants are a large

                                  22   pharmaceutical company with significant resources.

                                  23          For all these reasons, the Court DENIES Defendants’ request for costs.

                                  24          IT IS SO ORDERED.

                                  25   Dated: November 3, 2023

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  28                                                                 United States District Judge
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